 Case:17-03283-LTS Doc#:12998-6 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
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                             EXHIBIT 30
 Case:17-03283-LTS Doc#:12998-6 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
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         &RPPRQZHDOWKRI
        3XHUWR5LFR
         &RPSUHKHQVLYH$QQXDO)LQDQFLDO5HSRUW
         <HDU(QGHG-XQH




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  &20021:($/7+2)38(5725,&2

  7$%/(2)&217(176


                                                                                           3DJH

  3DUW,,QWURGXFWRU\6HFWLRQ 8QDXGLWHG 

  /(77(52)75$160,77$/                                                                   ±

  35,1&,3$/2)),&,$/6                                                                      

  25*$1,=$7,21$/&+$57                                                                     

  3DUW,,)LQDQFLDO6HFWLRQ

  ,1'(3(1'(17$8',7256¶5(3257                                                            ±

  0$1$*(0(17¶6',6&866,21$1'$1$/<6,6 81$8',7('                                         ±

  %$6,&),1$1&,$/67$7(0(176

   *RYHUQPHQW:LGH)LQDQFLDO6WDWHPHQWV

    6WDWHPHQWRI1HW$VVHWV 'HILFLW                                                    ±

    6WDWHPHQWRI$FWLYLWLHV                                                             ±

    )XQG)LQDQFLDO6WDWHPHQWV

     %DODQFH6KHHW²*RYHUQPHQWDO)XQGV                                                ±

     5HFRQFLOLDWLRQRIWKH%DODQFH6KHHWWRWKH6WDWHPHQWRI1HW$VVHWV 'HILFLW ²
       *RYHUQPHQWDO)XQGV                                                               

     6WDWHPHQWRI5HYHQXHV([SHQGLWXUHVDQG&KDQJHVLQ)XQG%DODQFHV 'HILFLW ²
       *RYHUQPHQWDO)XQGV                                                              ±

     5HFRQFLOLDWLRQRIWKH6WDWHPHQWRI5HYHQXHV([SHQGLWXUHVDQG&KDQJHVLQ
       )XQG%DODQFHV 'HILFLW WRWKH6WDWHPHQWRI$FWLYLWLHV²*RYHUQPHQWDO)XQGV      

     6WDWHPHQWRI5HYHQXHVDQG([SHQGLWXUHV±%XGJHWDQG$FWXDO²%XGJHW%DVLV²
       *HQHUDO)XQG                                                                     

     6WDWHPHQWRI1HW$VVHWV 'HILFLW ²3URSULHWDU\)XQGV                              

     6WDWHPHQWRI5HYHQXHV([SHQVHVDQG&KDQJHVLQ)XQG1HW$VVHWV 'HILFLW ²
       3URSULHWDU\)XQGV                                                                

     6WDWHPHQWRI&DVK)ORZV²3URSULHWDU\)XQGV                                       ±



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     6WDWHPHQWRI)LGXFLDU\1HW$VVHWV²)LGXFLDU\)XQGV                           

     6WDWHPHQWRI&KDQJHVLQ)LGXFLDU\1HW$VVHWV²3HQVLRQ7UXVW)XQGV            

     &RPELQLQJ6WDWHPHQWRI1HW$VVHWV 'HILFLW ²0DMRU&RPSRQHQW8QLWV         ±

     &RPELQLQJ6WDWHPHQWRI$FWLYLWLHV²0DMRU&RPSRQHQW8QLWV                     

    1RWHVWR%DVLF)LQDQFLDO6WDWHPHQWV                                           ±

  5HTXLUHG6XSSOHPHQWDU\,QIRUPDWLRQ 8QDXGLWHG 

  6&+('8/(2))81',1*352*5(66²5(7,5(0(176<67(06                                  

  6&+('8/(2))81',1*352*5(66²3267(03/2<0(17
   +($/7+&$5(%(1(),76                                                               

  6XSSOHPHQWDU\,QIRUPDWLRQ

  &RPELQLQJDQG,QGLYLGXDO)XQG)LQDQFLDO6WDWHPHQWVDQG6FKHGXOHV

  *(1(5$/)81'

   6XSSOHPHQWDO6FKHGXOHRI([SHQGLWXUHVE\$JHQF\²
     %XGJHWDQG$FWXDO²%XGJHW%DVLV                                             ±

  1210$-25*29(510(17$/)81'6

   &RPELQLQJ%DODQFH6KHHW                                                        ±

   &RPELQLQJ6WDWHPHQWRI5HYHQXHV([SHQGLWXUHVDQG&KDQJHVLQ)XQG%DODQFHV      

  1210$-2535235,(7$5<)81'6

   &RPELQLQJ6WDWHPHQWRI1HW$VVHWV                                                

   &RPELQLQJ6WDWHPHQWRI5HYHQXHV([SHQVHVDQG&KDQJHVLQ1HW$VVHWV             

   &RPELQLQJ6WDWHPHQWRI&DVK)ORZV                                                

  ),'8&,$5<)81'6

   &RPELQLQJ6WDWHPHQWRI)LGXFLDU\1HW$VVHWV²3HQVLRQ7UXVW)XQGV                

   &RPELQLQJ6WDWHPHQWRI&KDQJHVLQ)LGXFLDU\1HW$VVHWV²3HQVLRQ7UXVW)XQGV     

   &RPELQLQJ6WDWHPHQWRI&KDQJHVLQ$VVHWVDQG/LDELOLWLHV²$JHQF\)XQGV          




                                                      
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  1210$-25',6&5(7(/<35(6(17('&20321(1781,76

   &RPELQLQJ6WDWHPHQWRI1HW$VVHWV 'HILFLW                              ±

   &RPELQLQJ6WDWHPHQWRI$FWLYLWLHV                                         

  3DUW,,,6WDWLVWLFDO6HFWLRQ 8QDXGLWHG 

  6&+('8/(62)),1$1&,$/75(1',1)250$7,21

   &KDQJHVLQ1HW$VVHWV 'HILFLW IRUWKH/DVW(LJKW)LVFDO<HDUV         ±

   1HW$VVHWV 'HILFLW E\&RPSRQHQWIRUWKH/DVW(LJKW)LVFDO<HDUV         

   &KDQJHVLQ)XQG%DODQFHV 'HILFLW RI*RYHUQPHQWDO)XQGVDOO
     *RYHUQPHQWDO)XQG7\SHVIRUWKH/DVW7HQ)LVFDO<HDUV                   

   )XQG%DODQFHV 'HILFLW RI*RYHUQPHQWDO)XQGVIRUWKH
     /DVW(LJKW)LVFDO<HDUV                                                 

  6&+('8/(2)5(9(18(&$3$&,7<,1)250$7,21²

   *HQHUDO)XQG1HW5HYHQXHVIRUWKH/DVW7HQ)LVFDO<HDUV                 ±

  6&+('8/(62)'(%7&$3$&,7<,1)250$7,21

   /HJDO'HEW0DUJLQ,QIRUPDWLRQIRUWKH/DVW7HQ)LVFDO<HDUV               

   5DWLRRI$QQXDO'HEW6HUYLFHIRU*HQHUDO%RQGHG
     'HEWWR7RWDO*HQHUDO([SHQGLWXUHVIRUWKH/DVW7HQ)LVFDO<HDUV        

  6&+('8/(62)'(02*5$3+,&$1'(&2120,&,1)250$7,21

   'HPRJUDSKLFDQG(FRQRPLF6WDWLVWLFVIRUWKH/DVW7HQ)LVFDO<HDUV         

   $YHUDJH(PSOR\PHQWE\6HFWRUIRUWKH/DVW7HQ)LVFDO<HDUV                

   7RXULVP,QGLFDWRUVIRUWKH/DVW7HQ)LVFDO<HDUV                          

  6&+('8/(2)23(5$7,1*,1)250$7,21²

   2SHUDWLQJ,QGLFDWRUVE\)XQFWLRQIRUWKH/DVW7HQ)LVFDO<HDUV            




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      $VRI-XQHDFFRXQWVUHFHLYDEOHIURPHPSOR\HUVLQFOXGHDFFRXQWVUHFHLYDEOHIURP0HGLFDO
      6HUYLFH$GPLQLVWUDWLRQ $6(0E\LWV6SDQLVKDFURQ\P RIDSSUR[LPDWHO\PLOOLRQDVIROORZ LQ
      WKRXVDQGV 

      (PSOR\HUDQGHPSOR\HHFRQWULEXWLRQV                                                        
      ,QWHUHVW                                                                                   

      7RWDODFFRXQWVUHFHLYDEOHIURP$6(0                                                        
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      'XULQJWKHILVFDO\HDUWKH&RPPRQZHDOWK¶V/HJLVODWXUHDSSURYHG/DZDVVLJQLQJIXQGVWR
      $6(0WRVHWWOHLWVDFFRXQWUHFHLYDEOHZLWK(56DVRI-XQH2Q-DQXDU\(56UHFHLYHG
      DQLQLWLDOSD\PHQWRIPLOOLRQ,QDGGLWLRQRQ$XJXVW(56UHFHLYHGDQLQWHUHVWSD\PHQWRI
      PLOOLRQ$6(0DQG(56KDYHHVWDEOLVKHGD\HDUSD\PHQWSODQIRUWKHUHPDLQLQJRXWVWDQGLQJ
      EDODQFHRIHPSOR\HUDQGHPSOR\HHFRQWULEXWLRQVRZHG

   3/('*(62)5(&(,9$%/(6$1')8785(5(9(18(6

      7KH&RPPRQZHDOWKKDVSOHGJHGWKHILUVWWZRSRLQWVHYHQW\ILYH  SHUFHQWRIWKHVDOHVDQGXVHWD[
      IRUWKHUHSD\PHQWRIFHUWDLQRXWVWDQGLQJREOLJDWLRQVRIWKH&RPPRQZHDOWK'XULQJ&2),1$D
      EOHQGHGFRPSRQHQWXQLWRIWKH&RPPRQZHDOWKUHVSRQVLEOHIRUWKHILQDQFLQJSD\PHQWVDQGUHWLUHPHQW
      RIFHUWDLQGHEWREOLJDWLRQVRIWKH&RPPRQZHDOWKKDVLVVXHGERQGVIRUDSSUR[LPDWHO\PLOOLRQ
      SD\DEOHWKURXJK7KH&RPPRQZHDOWKKDVFRPPLWWHGWRDSSURSULDWHHDFK\HDUIURPWKHVDOHVDQG
      XVHWD[DPRXQWVVXIILFLHQWWRFRYHUWKHSULQFLSDODQGLQWHUHVWUHTXLUHPHQWVRQWKHGHEWLVVXHGE\
      &2),1$&2),1$KDVSOHGJHGDVWKHVROHVHFXULW\IRUWKHERQGVWKHDQQXDODSSURSULDWLRQVIURPWKH
      &RPPRQZHDOWK7RWDOSULQFLSDODQGLQWHUHVWUHPDLQLQJRQWKHVHFXUHGGHEWLVELOOLRQDQG
      ELOOLRQUHVSHFWLYHO\7KHSOHGJHGVDOHDQGXVHWD[EDVHDPRXQWIRUWKHILVFDO\HDUHQGHG-XQH
      DPRXQWHGWRPLOOLRQ)RUILVFDO\HDULQWHUHVWSDLGE\&2),1$DPRXQWHGWR
      PLOOLRQDQGWKHVDOHVDQGXVHWD[UHYHQXHUHFRJQL]HGE\WKH&RPPRQZHDOWKZDVPLOOLRQ

      $OVRWKH&RPPRQZHDOWKKDVSOHGJHGSDUWRIWKHJURVVUHFHLSWVRIWKHJDVROLQHH[FLVHWD[HVDQGRQHKDOI
      RIWKHGLHVHORLOH[FLVHWD[HV XSWRPLOOLRQPRQWKO\EXWQRPRUHWKDQPLOOLRQDQQXDOO\ DQG
      SHUYHKLFOHSHU\HDUIURPPRWRUYHKLFOHOLFHQVHIHHVIRUWKHUHSD\PHQWRIWKH35+7$5HYHQXH
      %RQGV7KH&RPPRQZHDOWKKDVFRPPLWWHGWRDSSURSULDWHHDFK\HDUIURPWKHH[FLVHWD[HVDPRXQWV
      VXIILFLHQWWRFRYHUWKHSULQFLSDODQGLQWHUHVWUHTXLUHPHQWVRQWKHGHEWLVVXHGE\35+7$35+7$KDV
      SOHGJHGDVWKHVROHVHFXULW\IRUWKHERQGVWKHDQQXDODSSURSULDWLRQVIURPWKH&RPPRQZHDOWK7RWDO
      SULQFLSDODQGLQWHUHVWUHPDLQLQJRQWKHVHFXUHGGHEWLVELOOLRQDQGELOOLRQUHVSHFWLYHO\7KH
      SOHGJHGH[FLVHWD[IRUWKHILVFDO\HDUHQGHG-XQHDPRXQWHGWRPLOOLRQ)RUILVFDO\HDU
      SULQFLSDODQGLQWHUHVWSDLGE\35+7$DPRXQWHGWRPLOOLRQDQGPLOOLRQUHVSHFWLYHO\
      DQGWKHH[FLVHWD[UHYHQXHUHFRJQL]HGE\WKH&RPPRQZHDOWKZDVPLOOLRQ

      5XPPDQXIDFWXUHGLQ3XHUWR5LFRLVVXEMHFWWRIHGHUDOH[FLVHWD[HVKRZHYHUWKHVHDUHUHWXUQHGE\WKH
      86,QWHUQDO5HYHQXH6HUYLFH ,56 WRWKH&RPPRQZHDOWK$FW1RDVDPHQGHGUHTXLUHVWKDWLQ
      HDFKILVFDO\HDUWKURXJKILVFDO\HDUWKHILUVWPLOOLRQRIFHUWDLQIHGHUDOH[FLVHWD[HVUHFHLYHG
      E\WKH&RPPRQZHDOWKEHWUDQVIHUUHGWRWKH3XHUWR5LFR,QIUDVWUXFWXUH)LQDQFLQJ$XWKRULW\ ³35,)$´ 
      6XFKWD[HVFRQVLVWRIWKHIHGHUDOH[FLVHWD[HVOHYLHGRQUXPDQGRWKHUDUWLFOHVSURGXFHGLQ3XHUWR5LFR
      DQGVROGLQWKH8QLWHG6WDWHVZKLFKWD[HVDUHFROOHFWHGE\WKH86WUHDVXU\DQGUHWXUQHGWRWKH
      &RPPRQZHDOWK7KH&RPPRQZHDOWKKDVSOHGJHGWKHVHWD[HVIRUWKHUHSD\PHQWRI35,)$¶V6SHFLDO7D[
      5HYHQXH%RQGV7KH&RPPRQZHDOWKKDVFRPPLWWHGWRDSSURSULDWHHDFK\HDUIURPWKHH[FLVHWD[HV
      DPRXQWVVXIILFLHQWWRFRYHUWKHSULQFLSDODQGLQWHUHVWUHTXLUHPHQWVRQWKHGHEWLVVXHGE\35,)$35,)$
      KDVSOHGJHGDVWKHVROHVHFXULW\IRUWKHERQGVWKHDQQXDODSSURSULDWLRQVIURPWKH&RPPRQZHDOWK7KH
      IHGHUDOH[FLVHWD[HVVHFXULQJWKH%RQGVDUHVXEMHFWWRDQXPEHURIIDFWRUVLQFOXGLQJWKHFRQWLQXHG


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